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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON THE JUDICIARY,
UNITED STATES HOUSE OF
REPRESENTATIVES,
2138 Rayburn House Office Building
Washington, D.C. 20515,

                              Plaintiff,

                                             Case No. 1:19-cv-2379
     v.


DONALD F. MCGAHN II,
51 Louisiana Avenue, N.W.
Washington, D.C. 20001,

                               Defendant.




                               Exhibit BB
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                                               SUBPOENA

            BY AUTHORITY OF THE HOUSE OF REPRESENTATIVES OF THE
                 CONGRESS OF THE UNITED STATES OF AMERICA

To Hope Hicks
       You are hereby commanded to be and appear before the
            Committee on the Judiciary

       of the House of Representatives of the United States at the place, date, and time specified below.

0     to produce the things identified on the attached schedule touching matters of inquiry committed to said
      committee or subcommittee; and you are not to depart without leave of said committee or subcommittee.

       Place of production: 2138 Rayburn House Office Building, Washington, D.C., 20515

        Date: June 4, 2019                                                  Time: 1O:OOam

D     to testify at a deposition touching matters of inquiry committed to said committee or. subcommittee;
      and you are not to depart without leave of said committee or subcommittee.

       Place of testimony: _____________________________

        Date:   ---------(and continuing until completed)                  Time: _ _________

[Z]   to testify at a hearing touching matters of inquiry committed to said committee or subcommittee; and
       you are not to depart without leave of said committee or subcommittee.

        Place of testimony:   2138 Rayburn House Office Building, Washington, D.C. 20515

        Date: June 19, 2019                                                 Time: 1:OOpm


To any authorized staff member or the U.S. Marshals Service
                                                                                        to serve and make return.

                           Witness my hand and the seal of the House of Representatives of the United States, at

                              the city of Washington, D.C. this 21         day of M a y          , 20 19
                                                               _ _ _----,.       _ _ __. _______
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                                        PROOF OF SERVICE



Subpoena for
               Hope Hicks
Address c/o Robert P. Trout, Trout Cacheris & Solomon PLLC

1627 Eye Street NW, Suite 1130, Washington, DC 20006

before the Committee on the Judiciary




US. House ofRepresentatives
I I 6th Congress




                        ----------------------------
Served by (print name) Aaron Hiller

Title Deputy Chief Counsel, House Judiciary Committee

Manner of service Electronic



Date May 21, 2019

Signature of Server
                       �       i  fl_;
                      - --=+-M" .........,_, __________
Address 2138 Rayburn House Office Building

 Washington, D.C. 20515
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                                             SCHEDULE

        In accordance with the attached Definitions and Instructions, you are hereby required to produce
all documents and communications in your possession, custody, or control, referring or relating to:

   1. All notes referenced in the Report.

   2. Any other documents referenced in the Report.

   3. Statements by Michael Flynn to the Federal Bureau oflnvestigation (FBI) regarding contacts
      with Sergey Kislyak.

   4. The Federal Bureau oflnvestigation and Department of Justice's (DOJ) investigation of Michael
      Flynn.

   5. Meetings with DOJ officials or employees relating to Michael Flynn and underlying evidence
      relating to Michael Flynn.

   6. The resignation or termination of Michael Flynn.

   7. Sean Spicer's February 14, 2017 public statements about Michael Flynn's resignation.

   8. President Trump's contacts with James Corney on or about January 27, 2017, February 14, 2017,
      March 30, 2017, and April 11, 2017.

   9. The termination of James Corney, including but not limited to any documents or communications
      relating to draft termination letters, White House Counsel memoranda, or the May 9, 2017 Rod
      Rosenstein memorandum to Jeff Sessions entitled "Restoring Public Confidence in the FBI."

   10. Meetings or communications involving FBI or DOJ officials or employees relating to the
       resignation or termination of James Corney.

   11. President Trump's statements or communications regarding James Corney in March or April
       2017.

   12. Jeff Sessions's recusal from any matters arising from the campaigns for President of the United
       States.

   13. Reversing or attempting to reverse Jeff Sessions's recusal from any matters.

   14. The resignation or termination, whether contemplated or actual, of (a) Jeff Sessions; (b) Rod
       Rosenstein; (c) Special Counsel Robert Mueller; (d) Don McGahn.
   15. Your resignation or termination, whether contemplated or actual.
   16. The appointment of Special Counsel Robert Mueller.

   17. Alleged conflicts of interest on the part of Special Counsel Robert Mueller or other employees of
       the Special Counsel's Office.
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18. Public statements and/or requests to correct the record or deny reports that President Trump
    asked for Special Counsel Robert Mueller to be removed as Special Counsel.

19. Memoranda directing White House officials or employees to avoid direct contact or
    communication with the Department of Justice or Jeff Sessions.

20. Meetings or communications with Dana Boente or other DOJ officials or employees relating to
    whether the President was being investigated by either DOJ or the FBI.

21. Meetings or communications with DOJ officials or employees relating to James Corney's
    testimony before Congress.

22. The President maintaining possession of Jeff Sessions's resignation letter.

23. Communications about Special Counsel Mueller's investigation, including but not limited to
    whether any action taken, proposed or discussed by President Trump or anyone acting on his
    behalf may constitute obstruction of justice or any violation of law.

24. McGahn's statement that President Trump's "biggest exposure" was not firing Corney but his
    "other contacts," "calls," and "ask re Flynn" as mentioned in Volume II, page 82 of the Report.

25. Statements or communications relating to press reports that President Trump was under
    investigation.

26. Any briefings the White House Counsel's Office received on the status of FBI's investigation of
    Russian interference in the 2016 election.

27. Paul Manafort's cooperation with the Special Counsel's Office.

28. The June 9, 2016 Trump Tower meeting.

29. The July 8, 2017 statement and related statements released in the name of Donald Trump Jr.
    regarding the Trump Tower meeting.

30. Prosecuting or investigating James Corney or Hillary Clinton.

31. Presidential pardons, whether possible or actual, for Paul Manafort, Michael Flynn, Michael
   , Cohen, Rick Gates, Roger Stone, individuals associated with the Trump Campaign, or
     individuals involved in matters before the U. S. Attorney's Office for the Southern District of
     New York (SDNY).

32. Selecting Jeff Sessions's replacement through a recess appointment or appointing an Acting
    Attorney General under the Federal Vacancies Reform Act.

33. The SDNY Investigations, the recusal of U.S. Attorney Geoffrey Berman from the SDNY
    Investigations, or the reassignment or potential reassignment of SDNY employees from the
    SDNY Investigations.
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34. Statements by Michael Cohen or White House officials to the House Permanent Select
    Committee on Intelligence and the Senate Select Committee on Intelligence regarding the timing
    of the Trump Organization's efforts to develop a property in Moscow, including but not limited
    to drafts of such statements and communications about such drafts or final statements.

35. Any payment, or potential payment, to any person or entity by Michael Cohen, Essential
    Consultants LLC, or American Media Inc. ("AMI") for the benefit of Donald Trump or the
    Trump Campaign, including but not limited to any documents relating to the reimbursement of
    Cohen, Essential Consultants LLC, or AMI for any such payments, and any documents relating
    to the omission or inclusion of information about liabilities associated with such payments on
    Donald Trump's Public Financial Disclosure Reports (OGE Form 278e) filed in 2017 and 2018.

36. Communications relating to United States imposed sanctions or potential sanctions against the
    Russian Federation from January 1, 2017 to December 31, 2018, including but not limited to the
    sanctions imposed pursuant to the Magnitsky Act.

Please note your obligation to provide a full privilege log, as well as identify responsive
documents no longer in your possession, as set forth in the Instructions.
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                                              DEFINITIONS

        As used in this subpoena, the following terms shall be interpreted in accordance with these
definitions:

    1.    "And," and "or," shall be construed broadly and either conjunctively or disjunctively to bring
         within the scope of this subpoena any information that might otherwise be construed to be
         outside its scope. The singular includes plural number, and vice versa. The masculine includes
         the feminine and neutral genders.

   2. "Any" includes "all," and "all" includes "any."

   3. "Communication(s)" means the transmittal of information by any means, whether oral,
      electronic, by document or otherwise, and whether in a meeting, by telephone, facsimile, mail,
      releases, electronic message including email, text message, instant message, MMS or SMS
      message, encrypted message, message application, social media, or otherwise.

   4. "Employee" means any past or present agent, borrowed employee, casual employee, consultant,
      contractor, de facto employee, detailee, fellow, independent contractor, intern, joint adventurer,
      loaned employee, officer, part-time employee, permanent employee, provisional employee,
      special government employee, subcontractor, or any other type of service provider.

   5. "Document" means any written, recorded, or graphic matter of any nature whatsoever, regardless
      of how recorded, and whether original or copy, including, but not limited to, the following:
      memoranda, reports, expense reports, books, manuals, instructions, financial reports, working
      papers, records, notes, letters, notices, confirmations, telegrams, receipts, appraisals, pamphlets,
      magazines, newspapers, prospectuses, interoffice and intra-office communications, call records,
      electronic mail ("e-mail"), instant messages, calendars, contracts, cables, notations of any type of
      conversation, telephone call, meeting or other communication, bulletins, printed matter,
      computer printouts, invoices, transcripts, diaries, analyses, returns, summaries, minutes, bills,
      accounts, estimates, projections, comparisons, messages, correspondence, press releases,
      circulars, financial statements, reviews, opinions, offers, studies and investigations,
      questionnaires and surveys, power point presentations, spreadsheets, and work sheets. The term
      "document" includes all drafts, preliminary versions, alterations, modifications, revisions,
      changes, and amendments to the foregoing, as well as any attachments or appendices thereto.

   6. "Documents in your possession, custody or control" means (a) documents that are in your
      possession, custody, or control, whether held by you or your past or present agents, employees,
      or representatives acting on your behalf; (b) documents that you have a legal right to obtain, that
      you have a right to copy, or to which you have access; and (c) documents that have been placed
      in the possession, custody, or control of any third party. This includes but is not limited to
      documents that are or were held by your attorneys.

   7. "Each" shall be construed to include "every," and "every" shall be construed to include "each;"

   8. "Government" shall include any government's present and former agencies, branches, units,
      divisions, subdivisions, districts, public corporations, employees, elected and appointed officials,
      ambassadors, diplomats, emissaries, authorities, agents, assignees, and instrumentalities. This
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     includes, but is not limited to, any government-controlled business entities, entities in which the
     government has a financial interest, and any person acting or purporting to act on the
     government's behalf.

9.   "Including" shall be construed brocl-dly to mean "including, but not limited to."

10. "Person" or "persons" means natural persons, firms, partnerships, associations, corporations,
    subsidiaries, division, departments, joint ventures proprietorships, syndicates, or other legal
    business or government entities, and all subsidiaries, affiliates, divisions, departments, branches,
    or other units, thereof.

11. "Referenced" means cited, quoted, mentioned, described, contained, incorporated, reproduced, or
    identified in any manner whatsoever.

12. "Relating to" shall mean discussing, describing, reflecting, containing, analyzing, studying,
    reporting, commenting, evidencing, constituting, comprising, showing, setting forth, considering,
    recommending, concerning, or pertinent to that subject in any manner whatsoever.

13. "The Russian Federation" shall include the Government of the Russian Federation, as the term
    "Government" is defined above.

14. "Special Counsel's Office" means the office created pursuant to Department of Justice Order
   No. 3915-17 issued by the Acting Attorney General on May 17, 2017 appointing Robert S.
    Mueller III as Special Counsel, and its employees.

15. "Special Counsel's Investigation" means the investigation conducted by the Special Counsel's
    Office pursuant to Department of Justice Order No. 3915-17 issued by the Acting Attorney
    General on May 17, 2017.

16. "SDNY Investigations" shall include any investigation or prosecution conducted by the U.S.
    Attorney's Office for the Southern District of New York relating to: (i) Michael Cohen; (ii) the
    Trump Organization; (iii) the Trump Campaign; and (iv) the 58111 Presidential Inaugural
    Committee.

17. "The Report" means the complete and unredacted version of the report submitted on or about
    March 22, 2019 by Special Counsel Robert Mueller, pursuant to his authority under 28 C.F.R. §
    600.8(c), entitled, "Report on the Investigation into Russian Interference in the 2016 Presidential
    Election."

18. "Trump Campaign" for purposes of this subpoena shall include Donald J. Trump for President,
    Inc., as well as its parent companies, subsidiary companies, affiliated entities, agents, officials,
    and instrumentalities.

19. The "Trump Organization" for purposes of this subpoena shall include the Trump Organization,
    Inc., The Trump Organization LLC, and"their parent companies, subsidiary companies, affiliated
    entities, agents, officials, and instrumentalities.
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20. The "Trump Tower Meeting" for purposes of this subpoena shall reference the June 9, 2016
    Trump Tower meeting attended by the following Donald Trump Jr., Paul Manafort, Kushner,
    Natalia Veselnitskaya, Rob Goldstone, and Rinat Akhmetshin.
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                                         INSTRUCTIONS

1. In complying with this subpoena, you should produce all responsive documents in unredacted
   form that are in your possession, custody, or control or otherwise available to you, regardless of
   whether the documents are possessed directly by you. If a document is referenced in the Report
   in part, you should produce it in full in a complete and unredacted form.

2. Documents responsive to the subpoena should not be destroyed, modified, removed, transferred,
   or otherwise made inaccessible to the Committee.

3. In the event that a document is withheld in full or in part on any basis, including a claim of
   privilege, you should provide a log containing the following information concerning every such
   document: (i) the reason the document is not being produced; (ii) the type of document; (iii) the
   general subject matter; (iv) the date, author, addressee, and any other recipient(s); (v) the
   relationship of the author and addressee to each other; and (vi) any other description necessary
   to identify the document and to explain the basis for not producing the document. If a claimed
   privilege applies to only a portion of any document, that portion only should be withheld and the
   remainder of the document should be produced. As used herein, "claim of privilege" includes,
   but is not limited to, any claim that a document either may or must be withheld from production
   pursuant to any law, statute, rule, policy or regulation.

4. In the event that a document is withheld in full or in part on the basis of a privilege asserted by
   or on behalf of the White House, or at the request of the White House, please also include the
   following information in your privilege log:

       a. The date on which you or any attorney representing you received the document or any
          copy thereof from the White House, received access to that document from the White
          House, or removed that document or any copy thereof from the White House;

       b. The name of the person or persons who provided the document to you or your attorney;

       c. The name of any lawyer or other agent or third party outside the White House who, to
          your knowledge, reviewed the document.

       d. You should log each responsive document as to which you have directed us to the White
          House, and each document that was previously in your attorneys' possession, custody or
          control.

5. Any objections or claims of privilege are waived if you fail to provide an explanation of why
   full compliance is not possible and a log identifying with specificity the ground(s) for
   withholding each withheld document prior to the request compliance date.

6. In complying with the request, be apprised that (unless otherwise determined by the Committee)
   the Committee does not recognize: any purported non-disclosure privileges associated with the
   common law including, but not limited to the deliberative-process privilege, the attorney-client
   privilege, and attorney work product protections; any purported privileges or protections from
   disclosure under the Freedom of Information Act; or any purported contractual privileges, such
   as non-disclosure agreements.
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7. Any assertion of any such non-constitutional legal bases for withholding documents or other
   materials, shall be of no legal force and effect and shall not provide a justification for such
   withholding or refusal, unless and only to the extent that the Committee has consented to
   recognize the assertion as valid.

8. Pursuant to 5 U.S.C. § 552(d), the Freedom oflnformation Act (FOIA) and any statutory
   exemptions to FOIA shall not be a basis for withholding any information.

9. Pursuant to 5 U.S.C. § 552a(b)(9), the Privacy Act shall not be a basis for withholding
   information.

10. If any document responsive to this subpoena was, but no longer is, in your possession, custody,
    or control, or has been placed into the possession, custody, or control of any third party and
    cannot be provided in response to this subpoena, you should identify the document (stating its
    date, author, subject and recipients) and explain the circumstances under which the document
    ceased to be in your possession, custody, or control, or was placed in the possession, custody, or
    control of a third party, including, but not limited to (a) how the document was disposed of; (b) the
    name, current address, and telephone number of the person who currently has possession,
    custody, or control over the document; (c) the date of disposition; and (d) the name, current
    address, and telephone number of each person who authorized said disposition or who had or
    has knowledge of said disposition.

11. If any document responsive to this subpoena cannot be located, describe with particularity the
    efforts made to locate the document and the specific reason for its disappearance, destruction or
    unavailability.

12. In the event that any entity, organization, or individual named in the subpoena has been, or is
    currently, known by any other name, the subpoena should be read also to include su�h other
    names under that alternative identification.

13. All documents should be produced with Bates numbers affixed. The Bates numbers must be
    unique, sequential, fixed-length numbers and must begin with a prefix referencing the name of
    the producing party (e.g., ABCD-000001). This format must remain consistent across all
    productions. The number of digits in the numeric portion of the format should not change in
    subsequent productions, nor should spaces, hyphens, or other separators be added or deleted. All
    documents should be Bates-stamped sequentially and produced sequentially.

14. Documents produced pursuant to this subpoena should be produced in the order in which they
    appear in your files and should not be rearranged. Any documents that are stapled, clipped, or
    otherwise fastened together should not be separated. Documents produced in response to this
    subpoena should be produced together with copies of file labels, dividers, or identifying markers
    with which they were associated when this subpoena was issued. Indicate the office or division
    and person from whose files each document was produced.

15. Responsive documents must be produced regardless of whether any other person or entity
    possesses non-identical or identical copies of the same document.
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16. Produce electronic documents as created or stored electronically in their original electronic
    format. Documents produced in electronic format should be organized, identified, and indexed
    electronically, in a manner comparable to the organization structure called for in Instruction 13
    above.

17. Data may be produced on CD, DVD, memory stick, USB thumb drive, hard drive, or via
    secure file transfer, using the media requiring the least number of deliverables. Label all media
    with the following:

       a. Production date;

       b. Bates range;

       c. Disk number (1 of X), as applicable.

18. If a date or other descriptive detail set forth in this subpoena referring to a document,
    communication, meeting, or other event is inaccurate, but the actual date or other descriptive
    detail is known to you or is otherwise apparent from the context of the subpoena, you should
    produce all documents which would be responsive as if the date or other descriptive detail were
    correct.

19. The subpoena is continuing in nature and applies to any newly discovered document, regardless
    of the date of its creation. Any document not produced because it has not been located or
    discovered by the return date should be produced immediately upon location or discovery
    subsequent thereto.

20. Two sets of each production shall be delivered, one set to the Majority Staff and one set to the
    Minority Staff. Production sets shall be delivered to the Majority Staff in Room 213 8 of the
    Rayburn House Office Building and the Minority Staff in Room 2142 of the Rayburn House
    Office Building. You should consult with Committee Majority Staff regarding the method of
    delivery prior to sending any materials.

21. If compliance with the subpoena cannot be made in full by the· specified return date, compliance
    shall be made to the extent possible by that date. An explanation of why full compliance is not
    possible shall be provided along with any partial production. In the event that any responsive
    documents or other materials contain classified information, please immediately contact
    Committee staff to discuss how to proceed.

22. Upon completion of the document production, please submit a written certification, signed by
    you or by counsel, stating that: (1) a diligent search has been completed of all documents in
    your possession, custody, or control which reasonably could contain responsive documents; (2)
    documents responsive to the subpoena have not been destroyed, modified, removed, transferred,
    or otherwise made inaccessible to the Committee since the date of receiving the Committee's
    subpoena or in anticipation of receiving the Committee's subpoena, and (3) all documents
    identified during the search that are responsive have been produced to the Committee, identified
    in a log provided to the Committee, or otherwise identified as provided herein.

23. A cover letter should be included with eE!,ch production including the following information:
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       a. List of each piece of media (hard drive, thumb drive, DVD or CD) included in the
          production by the unique number assigned to it, and readily apparent on the physical
          media;

       b. List of fields in the order in which they are listed in the metadata load file;

       c. The paragraph(s) and/or clause(s) in the Committee's subpoena to which each document
          responds;

       d. Time zone in which emails were standardized during conversion (email collections
          only);

       e. Total page count and bates range for the entire production, including both hard copy and
          electronic documents.

24. With respect to your production of your notes cited in the Mueller Report, please provide your
    complete notes taken in connection with each meeting referenced.
